Case 2:04-cr-20471-BBD Document 63 Filed 05/11/05 Page 1 of 2 Page|D 63

iN THE UNITED sTATEs DisTRICT CoURT -i, 1 m
FoR THE wEerRN DISTRICT oF TENNESSEE
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UNITED sTATEs oF AMERICA wm 5;35~ '"55‘.3; 535 5§3§;
V.

04-20471-1\/11
TAMMY CRAIG

 

ORDER ON ARRAIGNMENT

 

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This cause came to be heard on 774 a/;/L // 8 00 b , the United States Attorney
for this district appeared on behalf of the governma@lt, and the defendant appeared in person and with
counsel:

NAME g /1 J;/lJ/'M/¢ /<€A/V\-/ who is Retainedeppointed.
L/ _,_,____-'

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown o a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

V<Ovca./»u /Z~ ZJ[/////

UNITED STATES l\/IAGlSTRATE JUDGE

 

 

CHARGES: 18:656 &18:2;

U. S. Attorney assigned to Case: T. DiScenza

Age: 14

   

UNITED sATE DISTRICT COURT - WTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:04-CR-20471 was distributed by faX, mail, or direct printing on
May l3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

